Case 1:20-cv-00052-SPW Document 267-8 Filed 09/27/23 Page 1 of 2

From: Brett Jensen
To: Katy Gannon
Ce: Ryan Shaffer; Rob Stepans; Jessica Yuhas; Jon Wilson; Michael Sarabia; Gerry Fagan; “Christopher Sweeney";
Jordan W. FitzGerald; Joel Taylor; Jared Brannan
Subject: RE: Rule 35 Exam
Date: Friday, June 23, 2023 10:13:15 AM
Attachments: F0383 Letter 4.25.23.pdf
F0383 Ltr 5.26.23.pdf
A-V Recording PDF 2019.pdf
Morel- i ical
Kaufmann-ProtetRawData Copyright 2009. pdf
f I ms.
Hi Katy:

Please see the attached memorandum, which has been workshopped with all defense counsel and
Dr. Butz. A couple technical matters we will need to settle on:

1. Where in Australia will the exam need to occur for Ms. Mapley? I’m not certain what town
she resides in and what kinds of services are available there. | assume if she lives quite rural,
she would need to travel to a town large enough that Dr. Butz can at least reserve a hotel
conference room with sufficient amenities for her evaluation to occur.

2. Same consideration for Ms. Caekaert.

3. As to #6, the referenced letters are attached.

4. As to #7, | have requested Dr. Butz’s authorizations to incorporate into the agreement and will
supply those when received. | am attaching the studies by Kaufmann and Morel referenced in
support of Dr. Butz’s position regarding raw testing data.

5. As to #8, Dr. Butz’s A-V recording agreement is attached.

Brett C. Jensen
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EXHIBIT

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From: Katy Gannon <katy@mss-lawfirm.com>

Sent: Monday, June 12, 2023 3:58 PM

To: Brett Jensen <BJensen@brownfirm.com>

Ce: Ryan Shaffer <ryan@mss-iawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>; Jon Wilson <jwilson@brownfirm.com>; Michael Sarabia
<MSarabia@brownfirm.com>

Subject: Rule 35 Exam

Hey Brett,

We received your letter dated 06/01/2023 regarding the Rule 35 Evaluation. Will you send us your
proposed Memorandum of Agreement outlining the areas we do agree upon at this time and a list of
issues we will need to have addressed by the Court if no agreement can be reached?

Additionally, we will agree to pay for Dr. Butz to travel to Cami and Tracy.

Thanks,

Katy Gannon
Associate Attorney

Meyer, Shaffer
& St

epans, PLLP

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430 Ryman St.
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